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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                          *
                                                   *
         v.                                        *    CRIMINAL NO. PX-19-181
                                                   *
 RONDELL HENRY,                                    *
                                                   *
                  Defendant                        *
                                                   *
                                                *******

                              ORDER GRANTING CONTINUANCE
                               PURSUANT TO 18 U.S.C. § 3161(h)

       Upon consideration of the Consent Motion To Exclude Time Pursuant to 18 U.S.C. § 3161,

the Court makes the following findings:

       1.        On April 3, 2019, United States Magistrate Judge Charles B. Day authorized a

criminal complaint charging the defendant with violating 18 U.S.C. § 2312. An initial appearance

was held the following day, after the defendant’s arrest.

       2.        On April 10, 2019, a federal grand jury for the District of Maryland returned an

indictment charging the defendant with violating 18 U.S.C. § 2312. ECF No. 13.

       3.        An arraignment on the indictment was held on April 29, 2019. During the

arraignment, the parties were apprised of a motions deadline set for May 20, 2019, and a status

call set for 10:00 a.m. on May 21, 2019.

       4.        In accordance with the Speedy Trial Act, 18 U.S.C. § 3161(c), the trial of a

defendant charged in an information or indictment shall commence within seventy days from the

filing date of the information or indictment, or from the date the defendant appeared before a

judicial officer, whichever date last occurs.
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       5.      However, pursuant to 18 U.S.C. § 3161(h)(7), the Court may grant a continuance

of speedy trial when the ends of justice served by taking such action outweigh the best interest of

the public and the defendant in a speedy trial. Here, the parties believe that the ends of justice are

served by the continuance because (1) defense counsel has stated the need for additional time to

review discovery and decide on relevant motions to file, and (2) the Government is considering

seeking a superseding indictment that would require an additional motions schedule. On the May

21, 2019, status call, the parties expect to request a new date for the filing of motions.

       6.      The Government moves to exclude the time from April 29, 2019, through a deadline

to be set on the May 21, 2019, status call for the filing of motions, in computing the time within

which trial must commence under 18 U.S.C. § 3161(h)(7). This exclusion will provide sufficient

time for defense counsel to review discovery and the parties to prepare any pretrial motions, as

well as for the Government to determine whether to seek a superseding indictment.

       7.      The defendant, through counsel, consents to this motion.

         WHEREFORE, in the interest of the defendant and the interests of the public, it is

       HEREBY ORDERED that the time from April 29, 2019, through the deadline to be set on

the May 21, 2019, status call for the filing of motions, be excluded in computing the time within

which trial must commence.




5/20/19                                                              /S/
__________________                                     ____________________________
Date                                                   Honorable Paula Xinis
                                                       United States District Judge




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